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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Gloria Valdepena, et al.

v.                                                  Case Number: 5:19−cv−00094

Nuestro Sagrado Corazon Primary Home
Care, Inc., et al.




                                    Notice of Setting

A proceeding has been set in this case as set forth below.

The Court SETS a telephonic Status Conference for July 18, 2023, at 11:15 a.m.

BEFORE:
Magistrate Judge John A Kazen
LOCATION:
by telephone
United States Courthouse
1300 Victoria Street
Laredo, TX 78040


DATE: 7/18/2023
TIME: 11:15 AM
TYPE OF PROCEEDING: Status Conference

Counsel for Plaintiff shall initiate the telephone conference call. When all of the parties
are joined in the call, the parties may reach the Court at (956) 790−1757. When
deemed appropriate, the Court holds telephonic hearings primarily for the convenience
of the attorneys. It is the obligation of each attorney to insure they have a clear
telephone connection and that they can communicate clearly with the Court during the
hearing. To this end, each attorney should endeavor to be on a landline telephone and
not a cellular telephone. If any attorney has a poor telephone connection that interferes
with the ability of the Court to conduct the hearing, the Court may recess the hearing
and order the attorney with the poor telephone connection to attend the hearing in
person at a future date.


Date: July 14, 2023                                                Nathan Ochsner, Clerk
